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                  EXHIBIT 8
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 1          UNITED STATES DISTRICT COURT

 2          FOR THE WESTERN DISTRICT OF NEW YORK

 3          ----------------------------------------------

 4          BLACK LOVE RESISTS IN THE RUST, et al.,
            individually and on behalf of a class of
 5          all others similarly situated,

 6                                        Plaintiffs,

 7           -vs-                                   1:18-cv-00719-CCR

 8          CITY OF BUFFALO, N.Y., et al.,

 9                                        Defendants.

10          ---------------------------------------------

11                  ORAL EXAMINATION OF CHARLES SKIPPER

12                          APPEARING REMOTELY FROM

13                           ERIE COUNTY, NEW YORK

14

15

16                           Friday, March 5, 2021

17                           10:05 a.m. - 2:02 p.m.

18                             pursuant to notice

19

20

21          REPORTED BY:

22          Carrie A. Fisher, Notary Public

23          APPEARING REMOTELY FROM ERIE COUNTY, NEW YORK




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      135 Delaware Avenue, Suite 301, Buffalo, New York              14202
                                 716-853-5544
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 1          R E M O T E        A P P E A R A N C E S

 2

 3          APPEARING FOR THE PLAINTIFFS:

 4                  CENTER FOR CONSTITUTIONAL RIGHTS
                    BY: DARIUS CHARNEY, ESQ.
 5                  666 Broadway, 7th Floor
                    New York, New York 10012
 6                  (212) 614-6475

 7          APPEARING FOR THE DEFENDANTS:

 8                  CITY OF BUFFALO LAW DEPARTMENT
                    BY: ROBERT E. QUINN,
 9                  ASSISTANT CORPORATION COUNSEL
                    1100 City Hall
10                  65 Niagara Square
                    Buffalo, New York 14202
11                  (716) 851-4326

12          ALSO PRESENT:

13                  KARINA TEFFT, ESQ.
                    National Center for Law and Economic
14                  Justice

15                  RAFAELA URIBE, BERTHA JUSTICE FELLOW
                    Center for Constitutional Rights
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                   CHARLES SKIPPER - BY MR. CHARNEY - 03/05/21


 1      A. N o .

 2      Q. O k a y .

 3      A. N o o n e w o u l d a p p r o a c h m e w i t h t h a t .

 4      Q. O k a y .     And did you discuss it with your fellow

 5          officers or no?

 6      A. N o .       Myself and Officer Walters did do tint

 7          tickets but through our career at Strike Force

 8          it wasn't our main priority.

 9      Q. G o t i t , o k a y .

10                      So the other information from the TraCS

11          data that we reviewed for your ticketing

12          activity between 2013 and 2017 was the

13          breakdown in terms of the driver race of the

14          people that you ticketed and what we found was

15          that you -- actually between 2013 and 2017 you

16          issued about ten times as many tickets to

17          drivers of color as you did to white drivers

18          and I guess I was wondering if you had a sense

19          of why that was.

20                      MR. QUINN:       Object to the form.             You can

21          answer.

22      A. N o .       Could have been the area.               When I am

23          using the license plate reader, nine times out




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                     CHARLES SKIPPER - BY MR. CHARNEY - 03/05/21


 1          of ten I don't see the driver, I am just

 2          watching the cameras to read a plate, so

 3          whoever I pull over is a mystery until I get

 4          to the car.

 5      Q. O k a y .    And was it -- so is it your testimony

 6          that when you were in Strike Force, the only

 7          time you would pull over a car is in response

 8          to what the license plate reader brought up?

 9      A. N o , s i r .

10                     MR. QUINN:        Object to form.

11      A. T h a t w a s a m a j o r c o n t r i b u t o r o f w h o I s t o p p e d

12          but I also stopped for seat belts, you know,

13          speeding or what have you.

14      Q. O k a y .    So there is the issue of decision to

15          stop, right, but then once you stop a vehicle

16          and you approach it, you do get to see what

17          the race of the driver is, right?

18      A. Y e s .

19      Q. O k a y .    And you testified earlier that when it

20          came to how many tickets you were going to

21          write for the violations that you observed,

22          that was at your discretion, correct?

23      A. C o r r e c t .    And what the status of the driver in




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